Case 2:15-cv-09692-PSG-E Document 90-1 Filed 05/26/17 Page 1 of 7 Page ID #:620



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   8

   9
                             UNITED STATES DISTRICT COURT
  10
                            CENTRAL DISTRICT OF CALIFORNIA
  11
                                      WESTERN DIVISION
  12

  13

  14   Consumer Financial Protection Bureau, )     Case No.
                                                   Case       2:15-cv-09692-PSG(Ex)
                                                        No. 2:15-cv-09692-PSG(Ex)
                                             )
  15                                         )     Hon. Philip S. Gutierrez
                                             )
  16                       Plaint
                           Plaintiff,        )
                                             )
  17         v.                              )     [PROPOSED] ORDER ON
                                             )     DEFENDANTS’ MOTION
                                                   DEFENDANTS'  MOTION TO
  18                                         )     STAY THE CASE PENDING
                                             )     DISPOSITION OF APPEAL
  19   D and D
             D Marketing,
                Marketing,Inc.,
                            Inc.,cVb/a
                                  d/b/a      )
       T3Leads, Grigor Demirchyan, Marina )
  20   Demirchyan, et al.,                   )
                                             )     Hearing Date:       July 17, 2017
  21                                         )     Hearing Time:       1:30 p.m.
                                             )     Courtroom:          6A
  22                       Defendants.       )     Courthouse:         First Street
                                             )
  23                                         )
  24

  25

  26
  27

  28

        [PROPOSED] ORDER ON DEFENDANTS’
                            DEFENDANTS' MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
                                         2:15-cv-09692-PSG(Ex)
       2771601v.1
Case 2:15-cv-09692-PSG-E Document 90-1 Filed 05/26/17 Page 2 of 7 Page ID #:621



   1   I.    Procedural Background
   2         Plaintiff Consumer Financial Protection Bureau has sued Defendants D and
   3     Marketing, Inc.,
       D Marketing, Inc., d/b/a
                          d/b/a T3
                                T3 Leads   (“T3”), Grigor
                                    Leads ("T3"),   Grigor Demirchyan
                                                            Demirchyan and
                                                                       and Marina
                                                                           Marina
   4   Demirchyan (collectively
       Demirchyan (collectively “D&D”)
                                "D&D") under the CFPA, seeking
                                                       seeking monetary
                                                               monetary penalties,
   5
       damages, restitution, disgorgement and injunctive relief, among other remedies. In
   6
                                                                challenging the
       response to this lawsuit, D&D filed a motion to dismiss, challenging the Bureau’s
                                                                                Bureau's
   7
       allegations based on, inter alia, its lack of legal authority to prosecute this action
   8
       due to its unconstitutional structure.
   9               adopting D&D’s
             While adopting       view that
                            D&D's view that the
                                            the Bureau's
                                                Bureau’s structure
                                                          structure is
                                                                     is constitutionally
                                                                        constitutionally
  10   flawed,
       flawed, this
               this Court
                    Court denied
                          denied the motion
                                     motion to dismiss.
                                               dismiss. (D.E.
                                                        (D.E. 57, pp. 6-8.) This Court,
                                                                                 Court,
  11
                subsequentlygranted
       however, subsequently
       however,              grantedD&D’s
                                     D&D'smotion
                                           motiontoto certify
                                                      certify this  issue for
                                                               this issue  for
  12   interlocutory appellate
       interlocutory appellate review.
                                review. In
                                         In response  to D&D’s
                                            response to        petition for permission
                                                         D&D's petition     permission to
  13   appeal the constitutionality
       appeal     constitutionality issue,
                                     issue, the Ninth Circuit
                                            the Ninth Circuit recently granted D&D's
                                                              recently granted D&D’s
  14
       request for interlocutory review.
  15                                             the district
             D&D has renewed its request to stay the district court
                                                              court proceedings
                                                                    proceedings pending
  16       completion of
       the completion of appellate
                          appellate proceedings
                                     proceedings regarding
                                                  regarding the
                                                             the threshold,
                                                                  threshold, jurisdictional
                                                                              jurisdictional
  17   issues accepted
       issues accepted for
                       for review.
                           review. D&D
                                   D&D has
                                       has argued
                                           argued that,
                                                  that, based
                                                        based on the Bureau's
                                                              on the Bureau’s recent
                                                                              recent
  18   confirmation
       confirmation of
                    of the amount
                           amount of damages
                                     damages being sought, the Bureau is seeking $1.8
  19   billion against
       billion against D&D
                       D&D based
                           based on
                                 on statutory
                                     statutory monetary
                                               monetary remedies,
                                                        remedies, an
                                                                  an amount
                                                                     amount that
                                                                             that
  20   continues
       continues to
                 to accrue
                    accrue every
                           every single
                                 single day,
                                        day, increasing
                                             increasing D&D’s liability exposure
                                                        D&D's liability exposure by
                                                                                 by over
                                                                                    over
  21   a million dollars daily. Decl. of Herbert P. Kunowski, rlf
                                                              ¶¶ 2-3.
  22         D&D further
             D&D further argues
                         argues that,  based on
                                 that, based on the
                                                the Bureau’s attempt to
                                                    Bureau's attempt    obtain aa ten-
                                                                     to obtain    ten-
  23   figure judgment against D&D, “[i]t
                                    "[i]t is
                                          is clear
                                             clear that
                                                   that [D&D]
                                                        [D&D] would
                                                              would not”
                                                                    not" be
                                                                         be “able to post
                                                                            "able to post
  24   such aa bond."
       such    bond.” Pennzoil
                      Pennzoil Co. v. Texaco,
                                      Texaco, Inc.,
                                              Inc., 481 U.S. 1, 55 (1987).
                                                                    (1987). As
                                                                            As discussed
                                                                                discussed
  25   below, the Court
       below,     Court finds
                        finds that,        absence of aa stay
                              that, in the absence       stay pending
                                                              pending the
                                                                      the appeal,
                                                                          appeal, D&D's
                                                                                  D&D’s
  26   right to meaningful
       right    meaningful appellate
                           appellate review
                                     review would
                                            would be
                                                  be practically
                                                      practically eliminated.
                                                                   eliminated. Because
                                                                               Because
  27
       D&D would be prejudiced without a stay, the Court GRANTS the motion to stay
  28

                                                 11
        [PROPOSED] ORDER ON DEFENDANTS’
                            DEFENDANTS' MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
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   1   this consolidated action pending the completion of appellate proceedings.
   2

   3   II.   LEGAL DISCUSSION
   4
             The interlocutory appeal statute that is the subject of this motion provides in
   5
       pertinent part as follows:
   6

   7         “When aa district
             "When      district judge,
                                  judge, in   making in
                                           in making    in aa civil
                                                              civil action
                                                                     action an
                                                                             an order
                                                                                 order not
                                                                                        not
             otherwise
             otherwise appealable
                        appealable under
                                      under this
                                              this section,
                                                   section, shall
                                                             shall be
                                                                   be of the opinion
                                                                              opinion that
   8         such order involves a controlling
                                      controlling question
                                                    question of
                                                              of law as to which there is
   9         substantial ground
             substantial ground forfor difference
                                        difference of   opinion and that an
                                                     of opinion             an immediate
                                                                                immediate
             appeal from
             appeal   from thethe order
                                    order maymay materially
                                                    materially advance
                                                                  advance thethe ultimate
                                                                                  ultimate
  10
             termination of
             termination   of the
                               the litigation,
                                    litigation,hehe shall
                                                     shall so  state in writing
                                                            so state      writing in such
                                                                                      such
  11         order…    That application
             order... That   application for          appeal hereunder
                                            for an appeal     hereunder shall
                                                                           shall not
                                                                                  not stay
                                                                                       stay
             proceedings in the district court unless the district judge or the Court
             proceedings
  12
             of Appeals
                Appeals or a judge
                                judge thereof
                                        thereof shall so order."    28 U.S.C.
                                                           order.” 28   U.S.C. §§ 1292(b)
                                                                                   1292(b)
  13         (emphasis added).
  14
             “No court can make time stand
             "No                     stand still
                                           still while
                                                 while itit considers
                                                            considersan  appeal…
                                                                      anappeal ... and if a
  15
       court takes the time it needs, the court’s
                                          court's decision may in some cases come too late
  16
                             review." Nken v. Holder, 556 U.S. 418, 421
       for the party seeking review.”                               421 (2009).
                                                                        (2009). “A
                                                                                "A stay
  17
       does not make
       does     make time
                     time stand
                          stand still,
                                still, but does hold a ruling
                                                       ruling in abeyance
                                                                 abeyance to allow
                                                                             allow an
  18
       appellate court the time necessary to review
                                             review it.”
                                                    it." Ibid.
  19
             Accordingly, aa “trial
             Accordingly,    "trial court
                                    court may,
                                          may, with
                                               with propriety,
                                                    propriety, find
                                                               find itit is efficient
                                                                            efficient for its
  20
       own docket and the fairest course for the parties to enter a stay of an action before
  21
           pending resolution
       it, pending resolution of independent proceedings which
                                 independent proceedings which bear
                                                               bear upon
                                                                    upon the case.”
                                                                         the case."
  22
       Leyva v. Certified
       Leyva    Certified Grocers
                          Grocers of       Ltd., 593
                                  of Cal., Ltd.,     F.2d 857,
                                                 593 F.2d 857, 863 (9th
                                                                   (9th Cir.
                                                                        Cir. 1979).
                                                                             1979).
  23
       “Where it
       "Where     is proposed
              it is   proposed that
                                that aapending
                                        pending proceeding
                                                 proceeding be
                                                            be stayed,
                                                                stayed, the
                                                                         the competing
                                                                              competing
  24
       interests which
                 which will be affected
                               affected by the granting
                                               granting or refusal
                                                           refusal to grant a stay must be
  25
       weighed. Among
       weighed. Among these competing interests
                      these competing interests are
                                                are the possible damage which may
  26
       result from
       result from the granting of
                   the granting      stay, the
                                of a stay, the hardship
                                               hardship or inequity
                                                            inequity which
                                                                     which a party
                                                                             party may
                                                                                   may
  27
       suffer in being required to go forward, and the orderly course of justice measured
  28

                                                   2
        [PROPOSED] ORDER ON DEFENDANTS’
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   1   in terms of the simplifying or complicating of issues, proof, and questions of law
   2   which could
       which could be
                   be expected
                      expected to
                               to result
                                  result from
                                         from aa stay.”
                                                 stay." Filtrol Corp. v. Kelleher, 467 F.2d
   3   242, 244 (9th Cir. 1972) (internal quotation marks and citations omitted).
   4         Under this
             Under this balancing
                        balancing test,
                                  test, “a stronger showing
                                        "a stronger showing of one element
                                                            of one element may
                                                                           may offset
                                                                               offset aa
   5   weaker showing
       weaker showing of another.” Alliance
                      of another." Alliance for the Wild Rockies v. Cottrell, 632 F.3d
   6   1127, 1131 (9th Cir. 2011) (addressing preliminary injunction standard). Applying
   7   these principles here, the Court stays this consolidated case based on the following
   8                     to "promote
       analysis in order to
       analysis             “promote economy
                                     economy of time and
                                             of time and effort
                                                         effort for
                                                                for itself,
                                                                    itself, for
                                                                            for counsel,
                                                                                counsel,
   9   and for
       and for litigants.”
               litigants." Filtrol Corp., 467 F.2d at 244.
  10                1.     The balance of hardships tips decidedly in favor of a stay
  11                       pending the resolution of appellate proceedings. Otherwise,
                           D&D will suffer irreparable injury.
  12

  13         While monetary expenses incurred in litigation are generally not considered

  14   irreparable harm (D.E. 76, p. 10) in and of themselves, the harm faced by D&D in

  15                          represents a tiny fraction of the total
       terms of defense costs represents                        total amount
                                                                      amount of financial
                                                                                financial

  16   harm facing
       harm facing D&D.
                   D&D. As
                        As reflected
                            reflected in
                                       in the
                                           themoving
                                               moving papers,
                                                       papers, a amathematical
                                                                   mathematical

  17   computation
       computation of the statutory penalties identified
                                              identified by the Bureau illustrates that the

  18   stakes here are much
       stakes          much higher:
                            higher: $1,791,595,661
                                    $1,791,595,661 and counting—just as
                                                   and counting—just as of
                                                                        of the time

  19   when this motion was filed.

  20         Applying the three-year statute of limitations (12 U.S.C. § 5564(g)(1)), the

  21   Bureau will seek to recover penalties from December 17, 2012 to the present. This

  22   limitations period
       limitations period encompasses
                          encompasses1,621
                                      1,621days
                                            daysas
                                                 as of
                                                    of May
                                                       May 26,          the statutory
                                                           26, 2017. If the  statutory

  23   rates of daily penalties are applied to this time period, as adjusted for inflation (12

  24   C.F.R. § 1083.1(a) (imposing adjusted $1,105,241
                                             $1,105,241 daily rate for penalties under §

  25   5565(c)(2)(C))), the Bureau will seek $1,791,595,661 against D&D. See 12 U.S.C.

  26     5565(c)(2)(C) (listing
       § 5565(c)(2)(C) (listing daily penalties
                                      penalties for
                                                for knowing
                                                    knowing violations
                                                            violations before
                                                                       before inflation
                                                                               inflation

  27   adjustments); § 5565(c)(2)(B) (unadjusted
       adjustments);                 (unadjusted daily penalties for reckless violations);
                                                                              violations);

  28                                 ¶¶ 2-3.
       Decl. of Herbert P. Kunowski, IN

                                                  3
        [PROPOSED] ORDER ON DEFENDANTS’
                            DEFENDANTS' MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
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   1            Absent a stay, the parties
                Absent             parties will be
                                                be forced
                                                    forced to
                                                            to continue
                                                               continue forward
                                                                        forward with
                                                                                with merits-
                                                                                     merits-
   2   based discovery, extensive motion practice and time-consuming trial preparations.
   3       burdens attendant
       The burdens attendant with      discovery, motion
                             with that discovery, motion and trial preparation
                                                                   preparation will be
   4   particularly acute, given the large universe of documents previously sought by the
   5   Bureau during the administrative phase of this case. In addition, D&D will need to
   6   seek comparably extensive discovery in connection with the issues of liability and
   7                                                          case.11
       damages, given the extensive breadth and scope of this case.
   8                setting aside
                But setting aside such defense
                                       defense costs,
                                               costs, the sheer size of the
                                                                        the damages
                                                                            damages being
   9   sought by the
       sought     the Bureau – a ten-figure
                      Bureau —   ten-figure judgment – justifies
                                            judgment —  justifies aa stay. Allowing the
                                                                     stay. Allowing
  10   parties to pursue appellate review
                                   review would
                                          would also eliminate
                                                     eliminate the
                                                               the need
                                                                   need for each side to
  11   simultaneously engage in dual-stage battles, substantially lessening the burdens on
  12   both the parties and the Court. Otherwise, the mere threat of such liability would
  13   cause third parties (e.g., lenders, creditors, etc.) to avoid conducting business with
  14   D&D, fearing that D&D would not be able to meet its future financial obligations
  15            parties, thus
       to those parties, thus causing
                              causing additional
                                      additional financial
                                                 financial damage
                                                           damage to
                                                                  to D&D’s business. See
                                                                     D&D's business. See
  16   Sottera, Inc.
       Sottera,         FDA, 627
                Inc. v. FDA,          891, 899
                             627 F.3d 891, 899 (D.C.
                                                (D.C. Cir.
                                                      Cir. 2010)
                                                            2010) (product
                                                                   (product distributor
                                                                             distributor
  17   would be
       would     irreparably harmed
             be irreparably  harmed by agency’s order
                                    by agency's order that
                                                      that would
                                                           would destroy
                                                                  destroy the
                                                                           the
  18   distributor’s ability
       distributor's ability to  cover its
                              to cover its production  costs). Based
                                            production costs). Based on  the Bureau's
                                                                     on the  Bureau’s
  19   immunity for
       immunity for such damages, D&D
                    such damages, D&D would
                                      would not
                                            not be able to
                                                        to recover
                                                            recover such
                                                                    such damages
                                                                         damages
  20             dismissal of this
       after the dismissal    this lawsuit,
                                    lawsuit, thus
                                             thus further
                                                  further illustrating
                                                          illustrating the practical
                                                                           practical harm in
  21   denying a stay.
  22                  2.     D&D is likely to succeed on the serious questions presented
  23                         in its successful petition for appellate review.
  24            D&D has a sufficient
                D&D       sufficient likelihood
                                     likelihood of
                                                of success
                                                   success on     merits to support
                                                           on the merits    support the
  25   issuance of a stay. While the vast
                                     vast majority
                                          majority of petitions
                                                      petitions for
                                                                for interlocutory
                                                                    interlocutory appellate
  26   review are
       review are summarily
                  summarily denied,
                            denied, the
                                    the Ninth
                                        Ninth Circuit’s decision to
                                              Circuit's decision to entertain
                                                                    entertain such
                                                                              such review
                                                                                   review
  27

  28   1
       1   See the
           See the parties'
                   parties’ Joint
                            Joint Rule
                                  Rule 26(f)
                                       26(f) Report
                                             Report filed
                                                    filed April
                                                          April 20,
                                                                20, 2017
                                                                    2017 (D.E.
                                                                         (D.E. 83).
                                                                               83).
                                                    4
        [PROPOSED] ORDER ON DEFENDANTS’
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   1   – though
       —  thoughcertainly
                 certainlynot conclusive –—arguably
                          not conclusive    arguablyraises
                                                     raisesaareasonable
                                                              reasonable inference
                                                                          inference on this
   2   point.
   3            Although the Bureau naturally
                Although            naturally disputes
                                              disputes this
                                                       this point,
                                                            point, D&D
                                                                   D&D is not required to
   4   prove at this juncture that it will ultimately prevail on the merits. All that has to be
   5   shown is a mere
       shown      mere likelihood of success. This relatively
                                                   relatively low standard is satisfied
                                                                              satisfied
   6   here, as evidenced by this
                evidenced by this Court’s       adoption of
                                  Court's prior adoption of D&D’s
                                                            D&D's view that the Bureau
   7      unconstitutional. While
       is unconstitutional. While this Court previously
                                  this Court previously rejected
                                                        rejected D&D’s view regarding
                                                                 D&D's view regarding
   8   the proper remedy, these constitutional issues are extremely important to the entire
   9   financial
       financial services
                 services industry
                          industry throughout
                                   throughout the
                                              the fifty
                                                  fifty states
                                                        states that are struggling with the
  10   Bureau’s interpretation
       Bureau's interpretation of the law.
                               of the law. Given
                                           Given the
                                                  the serious
                                                       serious and
                                                                and important
                                                                     important questions
                                                                                questions
  11   raised in this case, a stay is warranted.
  12

  13
                      3.    The public interest weighs in favor of a stay.

  14            Finally, a stay would
                Finally,        would serve
                                      serve important
                                            important interests
                                                      interests of sound and fair
                                                                             fair judicial
                                                                                   judicial
  15   administration. The public interest lies in proper resolution of the important issues
  16   raised in this case,
       raised         case, and
                            and issuance
                                 issuance of stay
                                             stay would
                                                  would avoid
                                                        avoid wasting
                                                              wasting resources
                                                                      resources on
                                                                                on a
  17   lawsuit which
       lawsuit which might
                     might be dismissed
                              dismissed on appeal. Conversely,
                                        on appeal. Conversely, there
                                                                there is
                                                                      is no reason to
  18                           while appellate
       rush this case to trial while appellate review is pending.
                                                         pending. As a result,
                                                                       result, the balance
                                                                                   balance
  19   tips sharply
       tips sharply in
                    in favor
                       favor of   stay. See
                             of a stay. See CFPB    Accrediting Council
                                            CFPB v. Accrediting Council for Indep.
                                                                             Indep.
  20                       854 F.3d
       Colleges & Schools, 854 F.3d 683,
                                    683, 691
                                         691 (D.C.
                                             (D.C. Cir.
                                                   Cir. 2017)
                                                        2017) (deeming
                                                              (deeming the
                                                                       the Bureau’s
                                                                           Bureau's
  21   interest in ensuring
       interest    ensuring compliance
                            compliance with
                                       with the CFPA as insufficient
                                            the CFPA     insufficient to enforce
                                                                         enforce civil
                                                                                 civil
  22   investigative demand where the Bureau violated the statutory notice requirements
  23   for issuing such an administrative subpoena in the first place).
  24            John Doe Co. v. CFPB, 849 F.3d 1129 (D.C. Cir. 2017) does not help the
  25   Bureau in this regard. In
                              In that
                                 that case,
                                      case, aa company
                                               company “filed
                                                       "filed aa pre-enforcement
                                                                 pre-enforcement suit to stop
  26     non-self-executing investigative
       a non-self-executing investigative demand      regulatory information."
                                          demand for regulatory   information.” Id. at
  27   1132. The
       1132.     company did
             The company did “not argue that
                             "not argue that it
                                             it falls
                                                 falls beyond
                                                       beyond the
                                                              the Bureau's
                                                                  Bureau’s statutory
                                                                            statutory
  28   authority” to
       authority"    issue aa subpoena.
                  to issue    subpoena. Ibid. Treating
                                              Treating this point as fatal
                                                       this point    fatal to
                                                                           to the
                                                                              the company’s
                                                                                  company's
                                                   5
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   1   request for
       request     “an injunction
               for "an  injunction pending
                                   pending appeal
                                           appeal on
                                                  on the ground that
                                                     the ground that the
                                                                      the Bureau
                                                                           Bureau
   2   transgresses the
       transgresses  the separation
                         separation of
                                    of powers
                                       powers just
                                               just by
                                                    by issuing
                                                       issuing aa CID"
                                                                  CID” (id.
                                                                       (id. at 1133), the
   3   majority denied the injunction request. In contrast to the immediate and concrete
   4   injury faced
       injury faced by
                    by D&D
                       D&D here
                           here (e.g.,
                                (e.g., based
                                       based on
                                             on the
                                                the sheer
                                                    sheer size
                                                          size of
                                                               of D&D’s exposure), the
                                                                  D&D's exposure), the
   5   “sole injury"
       "sole injury” the company asserted in
                         company asserted    that case
                                          in that case was
                                                       was "the
                                                           “the harm
                                                                harm occasioned
                                                                     occasioned by
   6   having to respond
       having     respond to
                           to aanon-self-executing
                                 non-self-executing CID."
                                                    CID.” Id. at 1132.
                                                                 1132. Given
                                                                       Given such
                                                                              such
   7   fundamental discrepancies
                   discrepancies between
                                 between these
                                         these fact patterns,
                                                    patterns, this case does not help the
   8   Bureau.
   9

  10   III. CONCLUSION
       III.  CONCLUSION
  11
             Absent aa stay,
                       stay, D&D’s right to
                             D&D's right to aa post
                                               post-judgment appeal would be effectively
                                                    judgment appeal
  12
       eliminated
       eliminated because
                  because D&D
                          D&D cannot
                              cannot post aa multi-billion
                                             multi-billion dollar
                                                           dollar supersedeas
                                                                   supersedeas bond.
                                                                               bond.
  13
       Conversely,
       Conversely,once
                   once the  case is
                         the case is stayed,
                                      stayed, the
                                               the interlocutory
                                                    interlocutory appeal
                                                                  appeal will
                                                                         will achieve
                                                                               achieve
  14
       significant efficiencies,
       significant efficiencies, by
                                 by allowing
                                    allowing both
                                             both sides
                                                  sides to obtain a definitive ruling from
  15
                                 promoting judicial economy. Therefore,
       the appellate court, thus promoting                   Therefore, the motion for
  16
       stay is hereby GRANTED.
  17

  18
       Dated: __________,, 2017
  19
  20
                                        By: /s/
                                            /s/
  21                                           Hon. Philip S. Gutierrez
                                               United States District Court Judge
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        [PROPOSED] ORDER ON DEFENDANTS’
                            DEFENDANTS' MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
                                         2:15-cv-09692-PSG(Ex)
       2771601v.1
